Case
Case 3:17-cv-00939-WHA
     3:17-cv-00939-WHA Document
                       Document 589-38
                                310-10 Filed
                                       Filed 06/12/17
                                             04/28/17 Page
                                                      Page 1
                                                           1 of
                                                             of 42
                                                                42




                EXHIBIT 24
       Case
       Case 3:17-cv-00939-WHA
            3:17-cv-00939-WHA Document
                              Document 589-38
                                       310-10 Filed
                                              Filed 06/12/17
                                                    04/28/17 Page
                                                             Page 2
                                                                  2 of
                                                                    of 42
                                                                       42
                                                                                                          US008934509B2


(12) United States Patent                                                                (10) Patent N0.:                US 8,934,509 B2
       Savage-Leuchs et a].                                                              (45) Date of Patent:                      Jan. 13, 2015

(54)   Q-SWITCHED OSCILLATOR SEED-SOURCE                                            (56)                   References Cited
       FOR MOPA LASER ILLUMINATOR METHOD
       AND APPARATUS                                                                                U.S. PATENT DOCUMENTS

                                                                                           3,728,117 A       4/1973 Heidenhain et al.
(75)   Inventors: Matthias P. Savage-Leuchs,                                               4,313,648 A       2/1982 Yano et al.
                  Woodinville, WA (US); Christian E.
                     Dilley, Everett, WA (US); Charles A.                                                       (Continued)
                     Lemaire, Apple Valley, MN (US)                                              FOREIGN PATENT DOCUMENTS
(73) Assignee: Lockheed Martin Corporation,                                         JP              05-251832           9/1993
               Bethesda, MD (US)                                                    JP            2007-081054           3/2007

       Notice:       Subject to any disclaimer, the term of this                                                (Continued)
                     patent is extended or adjusted under 35                                           OTHER PUBLICATIONS
                     U.S.C. 154(b) by 623 days.
                                                                                    Shay, et a1., “First experimental demonstration of self-synchronous
(21) App1.No.: 12/952,190                                                           phase locking of an optical array”, “Optics Express”, Dec. 11, 2006,
                                                                                    pp. 12015-12021,vo1. 14, N0. 25.
(22)   Filed:        Nov. 22, 2010                                                                              (Continued)
(65)                     Prior Publication Data                                     Primary Examiner * Yuanda Zhang
       US 2011/0122895 A1                  May 26, 2011                             (74) Attorney, Agent, or Firm * Charles A. Lemaire;
                                                                                    Jonathan M. Rixen; Lemaire Patent LaW Firm, P.L.L.C.

                 Related US. Application Data                                       (57)                      ABSTRACT
(60)   Provisional application No. 61/263,736, ?led on Nov.                         An apparatus, method and system that uses a Q-sWitched
       23, 2009.                                                                    laser or a Q-seed source for a seed pulse signal having a
                                                                                    controlled high-dynamic-range amplitude that avoids and/or
(51)   Int. Cl.                                                                     compensates for pulse steepening in high-gain optical-?ber
       H01S 3/11                     (2006.01)                                      and/or optical-rod ampli?cation of optical pulses. Optionally,
                                                                                    the optical output is used for LIDAR or illumination purposes
       H01S 3/06 7                   (2006.01)
                                                                                    (e.g., for image acquisition). In some embodiments, well
                             (Continued)                                            controlled pulse shapes are obtained having a Wide dynamic
(52)   US. Cl.                                                                      range, long duration, and not-too-narroW lineWidth. In some
       CPC ......... .. H01S 3/06758 (2013.01); HOIS 3/1022                         embodiments, upon the opening of a Q-sWitch in an optical
                               (2013.01); H01S5/146 (2013.01);                      cavity having a gain medium, the ampli?cation builds rela
                             (Continued)                                            tively slole, Wherein each round trip through the gain
                                                                                    medium increases the amplitude of the optical pulse. Other
(58)   Field of Classi?cation Search                                                embodiments use quasi-Q-sWitch devices or a plurality of
       CPC .......... .. H01S 3/06758; H01S 3/06791; H01S                           amplitude modulators to obtain Q-seed pulses. These con
                     3/06712; H01S 3/0675; H01S 3/094011;                           ?gurations provide optical pulses having Wide dynamic
                  H01S 3/094053; H01S 3/1022; H01S 3/115;                           ranges that ameliorate problems of pulse steepening, non
                     H01S 3/127; H01S 3/2316; H01S 5/146;                           linear spectral broadening and the like in very-high-power
                  H01S 2301/03; H01S 3/06704; H01S 3/113                            MOPA devices.
       USPC .......................................... .. 372/6, 10, 12, 13
       See application ?le for complete search history.                                             36 Claims, 14 Drawing Sheets




                                                  ; 180
                             PUMPED-THROUGH-Q-SWITCH SEED SOURCE

                                      122       5 123         j 124           125
                                'SOLQTOR       FILTER ->| POLARIZER' 4/{1
                                                                        OUTPUT
                                           Q-SWITCH                    COUPLER
                                            DRIVER p127
         Case
         Case 3:17-cv-00939-WHA
              3:17-cv-00939-WHA Document
                                Document 589-38
                                         310-10 Filed
                                                Filed 06/12/17
                                                      04/28/17 Page
                                                               Page 3
                                                                    3 of
                                                                      of 42
                                                                         42


                                                                           US 8,934,509 B2
                                                                                  Page 2

(51)     Int. Cl.                                                                              7,539,231 B1                  5/2009 Honea et al.
        H015 3””                             (200601)                                          13313;; E? 1115813 gender?“ 1 1 1
                                                                                                 ,          ,                                 avage-     euc    se a.
        HOIS 5/14                            (200601)                                          7,768,700             B1      8/2010          Savage-Leuchs
        H015 3/23                            (200691)                                          7,792,166             B2      9/2010          Borschowa
        H01S 3/115                           (2006.01)                                         7,872,794             B1      1/2011          Minelly et al.
        HOIS 3/127                           (200601)                                          7,949,021             B2      5/2011          Kakui
        HOIS 3/113                               2006'01                                       8,379,298 B2 *                2/2013          ClOWGS et al. ......... .. 359/341.32
        H015, 3/094                          (2006 01)                                     2002/0196823 A1* 12/2002 Nakao et al. .................. .. 372/32
(52)     U 5 Cl                              (           '     )                           2004/0114641 A1                   6/2004 Wise et a1.
            -   -      -                                                                   2005/0063441 A1                   3/2005          Brown
         CPC ........ .. H01S 3/2316 (2013.01); H01S 3/06791                               2005/0238066 A1                  10/2005          Liu _
                                 (2013.01); HOIS 3/115 (2013.01); HOIS                     200641133432 A1,,                 6/2006 Drag” .
                               3/06712 (2013 01) H015, 3/127 (2013 01)                     2006/0198399 A1                   9/2006 Jablonsk1 et al. ............. .. 372/10
                                                 '       ’                    '   ’        2006/0268950              A1*    11/2006          Kane ............. ..          ..   372/30
                                  H015 3”” (2013-01);H015 3/094053                         2007/0268942 A1* 11/2007 Murison etal.                                           .. 372/25
                           (2013.01);H01S 3/094011 (2013.01);H01S                          2008/0175279 A1*                  7/2008 Kakui .... ..                           .. 372/10
                       3/06704 (2013.01); H01S 2301/03 (2013.01);                          2009/0262761 A1* 10/2009 Khitrov ~~~~~~~~~~~~~~~~~~~~~~~~~~~ ~~ 372/6
                                                             H01S 3/0675 (2013.01)
         USPC .................... .. 372/10; 372/6; 372/12; 372/13                                             FOREIGN PATENT DOCUMENTS
                                                     .                                 W0             WO 2007083110 A1 *                        7/2007       ............ .. H01S 3/067
(56)                             References C‘ted                                      W0             W0 2007132182   11/2007
                           U~S~ PATENT DOCUMENTS                                       WO             PCTUS1057696    12/2011
                                                                                                            OTHER PUBLICATIONS
       4,728,168 A                 3/1988 Alferness et al.

        ,       ,
                           2                 gonn et al't 31
                                                 wanson e              .
                                                                                       Bochove, Eric J., “Theory of Spectral Beam Combining”, “IEEE
                                                                                                                                    .   ,,

       5,257,274 A * 10/1993 Barrett et al‘ “““““““““ H 372/20                         Journal OfQua-nmm gleCtronlcs 120021P~43;'445,IVOI~ 381N0~ 5~
       5,309,455 A *               5/1994 Adachi et al‘ “““““““““ H 372/25             Loftus, T.H., et al.,               Spectrally Beam-Comblned F1ber Lasers for
       5,907,436 A                 5/ 1999 Perry et a1,                                High-AVerage-Power Applications”, “IEEE Journal of Selected Top
       6,097,863 A                 8/2000 Chowdhury                                    ics in Quantum Electronics”, May 1, 2007, pp. 487-497, vol. 13, No.
       6,192,062 B1                2/2001 Sanchez-Rubio et al.                         3,
       6 288 835 B l               9/2001 $325352???”
                                          Nilsson et a1 et 31'                         Han,
                                                                                       erb1um-doped
                                                                                            H.-S., et al.,I“-Coef?-cient
                                                                                                        s111con-r1ch s111con
                                                                                                                         determination
                                                                                                                                ox1de related
                                                                                                                                       wavegulde
                                                                                                                                              to optical
                                                                                                                                                    ampll?er
                                                                                                                                                         gain ,
       6’324’016 B1               11/2001 Luster                   '                   “Appl. Phys. Lett.”, Nov. 22, 2002, pp. 3720-3722, vol. 81, No. 20.
       633303388 B1               12/2001 Bendett et al‘                               Kik, PCT, et al., “Exciton-erbium energy transfer in Si nanocrystal
       6,396,975 B1                5/2002 Wood et al‘                                  doped S102”, “J. Appl. Phys.”, Aug. 15, 2000, p. 1992-1998, V01. 88,
       6,456,756           B1    9/2002      Mead et al.                               NO~ 4
       6 , 493 , 476       B2   12/2002      Bendett                                   Kik, P.G., et al., “Stron g exciton-erbium cou P lin g in Si nanoc TY stal
       6,587,483           B2 * 7/2003       Kittelmann et al. .......... .. 372/13    doped SiO2”, “Applied Physics Letters”, Apr. 24, 2000, pp. 2325
       6,636,678           B1   10/2003      Bendett et al.                            2327, vol. 76, No. 17.
       6,813,405 B1               11/2004 Befldett et al~                              Kik, P.G., et al., “Exciton-erbium energy transfer in Si nanocrystal
       6,813,429 B2               11/2004 Pnce et 31'                                  doped SiO2”, “Materials Science and Engineering”, 2001, pp. 3-8,
       6,822,796 B2               11/2004 Takada et al.                                V01, B81,
       6’833’946 B2               12/2004 Islam                                        Orsila, Lasse, et al., “Three- and four-level transition dynamics in
       6,954,564 B2               10/2005    Bendett                                                 ,, “        -             ,,
       6 958 859 B2               10/2005 Hoose et 31‘                                 Yb-?ber,             Opt1cs Express , , pp. 3218-3223, vol. 13, No. 9.
       6,970,494           B1     11/2005    Bendett et al‘                            Brooks, Christopher D, et al. , “1-mJ energy, 1-MW peak-power,
       731993924           B1      4/2007    Brown et al‘                              10-W averagepower, spectrally narrow, diffraction-limited pulses
       7 , 203 , 209       B2      4/2007    Youn‘5 et 31,                             from a photonic-crystal f”, “Optics Express”, Oct. 31, 2005, pp.
       7,256,930           B2      8/2007    Liu                                       8999-9002, vol. 13, No. 22.
       7,372,880           B2      5/ 2008   Jablonski et al.                          Di Teodoro, Fabio, et al., “MW peak-power, mJ pulse energy, multi
       7,379,648           B1      5/2008    BIOOkS et 31.                             kHz repetition rate pulses”, “Proc. of SPIE”, 2006, pp. 61020K.1
       7,386,211 B1                6/2008    Di Teodoro et al.                         61020K8, V01, 6102‘
       7,391,561 B2                6/2008 D1 TFOdOTO et 31'                            Farrow, Roger L., et al., “Compact ?ber lasers for ef?cient high
       7’397’832 B2                7/2008 D811 Acqua et al'                            power generation”, “Proceedings ofthe SPIE”, 2006, pp. 62870C-1
       7,400,804 B1                7/2008 D1 Teodoro et al.
                                                                                       62870C-6, vol. 6287, No. 62870C.
       7,403,677           B1      7/2008    Zhao et al.                               “                .   ,     .   .                      .  .
                                                                                         Japanese Exam1ner s Act1on 1n related Japanese Appllcat1on
       7,424,185 B2                9/2008    Glebov et al.                                                                             .  ,      .
       7,429,734 B1                9/2008 Tidwell                                      Tokugan2012-540140,ofJun.30,2014,2pagesAssoc1ate sEngllsh
       7,430,352 B2                9/2008 Di Teodoro et al.                            summary, 4 Pages Japanese Actlon”
       7,471,705 B2               12/ 2008 Gerstenberger et al.
       7,532,656 B2                5/2009 Yang et al.                                  * cited by examiner
Case
Case 3:17-cv-00939-WHA
     3:17-cv-00939-WHA Document
                       Document 589-38
                                310-10 Filed
                                       Filed 06/12/17
                                             04/28/17 Page
                                                      Page 4
                                                           4 of
                                                             of 42
                                                                42
  Case
  Case 3:17-cv-00939-WHA
       3:17-cv-00939-WHA Document
                         Document 589-38
                                  310-10 Filed
                                         Filed 06/12/17
                                               04/28/17 Page
                                                        Page 5
                                                             5 of
                                                               of 42
                                                                  42


US. Patent                                                    Jan.13,2015                                                    Sheet20f14                   US 8,934,509 B2




                                                                @Fm
                                                                RPMH@DQPDFO
                f\                       w:
                                                                                                                                                                                                                          5ENmwE
                                                      “_a“.W
                                                        >5N_10>=2_6“2EW
                                                                      AN /:2
                                                                                            5@153 1
                                                                                                                                                   $aI5E_>w:-1o.@%3=m8_5Dn6. 8MNanN50QE&1E5:8
   my$6N3M%:“M w
               $ m ?
                   8
                   E
                   I B _ >a1
                           w
                     15;31:1 - o 3
                                 z5
                                  m% E        220gmQgw:3ww5
                                                                                                                                                          >\< NE?D               QM
                                                                                                                                                                                 aAiE:="05:-I   xeis$.?N5m1:5@0u18a2-6in30?_s>w5n_
                                                                                                          W
                                                                                                          w
                                                                                                          V
                                                                                                                             5
                                                                                      3%EMBNED        $585$8as wéW:ER
                                                               Pk-¢\
                                                                               _.125>m-8c                                                                          55%M5/§

                                                                                                                        105-E01521
                                                                                                                                                                                                                                     m5
                                                                                                                                     ms
                                                                                                                                          EMN“E:
Case
Case 3:17-cv-00939-WHA
     3:17-cv-00939-WHA Document
                       Document 589-38
                                310-10 Filed
                                       Filed 06/12/17
                                             04/28/17 Page
                                                      Page 6
                                                           6 of
                                                             of 42
                                                                42
Case
Case 3:17-cv-00939-WHA
     3:17-cv-00939-WHA Document
                       Document 589-38
                                310-10 Filed
                                       Filed 06/12/17
                                             04/28/17 Page
                                                      Page 7
                                                           7 of
                                                             of 42
                                                                42
Case
Case 3:17-cv-00939-WHA
     3:17-cv-00939-WHA Document
                       Document 589-38
                                310-10 Filed
                                       Filed 06/12/17
                                             04/28/17 Page
                                                      Page 8
                                                           8 of
                                                             of 42
                                                                42
Case
Case 3:17-cv-00939-WHA
     3:17-cv-00939-WHA Document
                       Document 589-38
                                310-10 Filed
                                       Filed 06/12/17
                                             04/28/17 Page
                                                      Page 9
                                                           9 of
                                                             of 42
                                                                42
Case
Case 3:17-cv-00939-WHA
     3:17-cv-00939-WHA Document
                       Document 589-38
                                310-10 Filed
                                       Filed 06/12/17
                                             04/28/17 Page
                                                      Page 10
                                                           10 of
                                                              of 42
                                                                 42
  Case
  Case 3:17-cv-00939-WHA
       3:17-cv-00939-WHA Document
                         Document 589-38
                                  310-10 Filed
                                         Filed 06/12/17
                                               04/28/17 Page
                                                        Page 11
                                                             11 of
                                                                of 42
                                                                   42


US. Patent        Jan. 13, 2015   Sheet 8 0f 14           US 8,934,509 B2




   “\NENE                                         mm5%“
  Case
  Case 3:17-cv-00939-WHA
       3:17-cv-00939-WHA Document
                         Document 589-38
                                  310-10 Filed
                                         Filed 06/12/17
                                               04/28/17 Page
                                                        Page 12
                                                             12 of
                                                                of 42
                                                                   42


US. Patent                                  Jan.13,2015                                        Sheet90f14                                         US 8,934,509 B2




                                                                                                                                                      n
                                                                                                                                                      u_
                                                                                                                                                       ,




                                                                                                                                          .m
                                                                                                                                           .
                                                                                                                                           a
                                                                                                                                           4




                                                                                                                                                                        r-r
                                                                                                                                                                        inL..“..o..


                                                                                                                                                  3%.
                                                                                                                                                   ,N1a.,_
                                       5:EN,-
                                                                                                                                5-.@1OSW280w6-0                                       mG2w:zv
                 Q
                 a
                 £
                 N
                 N
                                                                                                                                                      Oo-EI WQ 5%@231
                                                         ENE
                                                         QM
                                                         6H“
                                                         NM
                                                          N8W_
                                                          Now
                                                            _mi__i_
                           0:“E2NDa8MaE%D                                                                           w_SE- N/2
                                                                                                                    .)v
                     i8NQNEmNNNN/
                         E5cm
                                      N5%;wA.                                                                                                                           .L8.0-8.0
                                            5%$12:an38
   UM55%“\mUN“                                                    E<zo-._%>28m=1   -.HmWmM."-H5m%§.-N
                                                                                                        . m;
                                                                                                          m
                                                                                                          W
                                                                                                          80   m
                                                                                                               _.
                                                                                                               _




                         w
  Case
  Case 3:17-cv-00939-WHA
       3:17-cv-00939-WHA Document
                         Document 589-38
                                  310-10 Filed
                                         Filed 06/12/17
                                               04/28/17 Page
                                                        Page 13
                                                             13 of
                                                                of 42
                                                                   42


US. Patent         Jan. 13, 2015          Sheet 10 0f 14   US 8,934,509 B2




    000




                                                                    000m000?0000T
                                                                                    mG2w;zv


                                                                    0 0w
             3.0      0 .0         No.0                       8.0

   WM.bhk                     ('n'v) ‘IVNSIS aomamu
Case
Case 3:17-cv-00939-WHA
     3:17-cv-00939-WHA Document
                       Document 589-38
                                310-10 Filed
                                       Filed 06/12/17
                                             04/28/17 Page
                                                      Page 14
                                                           14 of
                                                              of 42
                                                                 42
Case
Case 3:17-cv-00939-WHA
     3:17-cv-00939-WHA Document
                       Document 589-38
                                310-10 Filed
                                       Filed 06/12/17
                                             04/28/17 Page
                                                      Page 15
                                                           15 of
                                                              of 42
                                                                 42
  Case
  Case 3:17-cv-00939-WHA
       3:17-cv-00939-WHA Document
                         Document 589-38
                                  310-10 Filed
                                         Filed 06/12/17
                                               04/28/17 Page
                                                        Page 16
                                                             16 of
                                                                of 42
                                                                   42


US. Patent         Jan. 13, 2015        Sheet 13 0f 14     US 8,934,509 B2




                                   Er                                 >r




                                                                           3




                                                                           2



     5,                                                                    1




     a5
     E         ALISNEliNI                                AllSNEliNI
  Case
  Case 3:17-cv-00939-WHA
       3:17-cv-00939-WHA Document
                         Document 589-38
                                  310-10 Filed
                                         Filed 06/12/17
                                               04/28/17 Page
                                                        Page 17
                                                             17 of
                                                                of 42
                                                                   42


US. Patent                  Jan. 13, 2015                                                              Sheet 14 0f 14                                                         US 8,934,509 B2




                                                                                        :m_m3:8%                                wad_15l.a6\.8
                                      J_Twi
                                        0%w1Nm$0925h3892
                       .4kLLr$.!3E01N5.i8?                                                             “®EmzNw?a! "@$2586
                                                                                                       81

                                                                              E25%$_9@:25 6 __920an
                                               __
                                               _
                                               E—
                                               u@2£35?»15%5052-5%                                                           $+_O.N_5S1N
                                                           EHQ@_z<_mxa_0>1m
                                                                                  m_
                                                                                  @z_m $5-0
                                                                                       _> o
                 11/k,5 %                                                                                                                                                              1-$.E51N,5?
                                                                                                   _
                                                                                                   .




                                                                                                                                                         n
                                                                                                                                                         \S2waE D
                                                                                                                                                ©920an                  _.‘
                                                                                                                                                                                   .9,20.an I.
         ENEEm                                                                                                 _                            _                       _
                                                                                                                                                                          ®
                                                                                                                                                                          .




                                                                                                                                                                               _
     Case
     Case 3:17-cv-00939-WHA
          3:17-cv-00939-WHA Document
                            Document 589-38
                                     310-10 Filed
                                            Filed 06/12/17
                                                  04/28/17 Page
                                                           Page 18
                                                                18 of
                                                                   of 42
                                                                      42


                                                  US 8,934,509 B2
                              1                                                                 2
   Q-SWITCHED OSCILLATOR SEED-SOURCE                               NALS” ?led Jan. 12, 2007 by Matthias P. Savage-Leuchs et
   FOR MOPA LASER ILLUMINATOR METHOD                               al. (Which issued as US. Pat. No. 7,701,987 on Apr. 20,
             AND APPARATUS                                         2010);
                                                                     US. Pat. No. 7,471,705 titled “ULTRAVIOLET LASER
          CROSS-REFERENCE TO RELATED                          5        SYSTEM AND METHOD HAVING WAVELENGTH
                 APPLICATIONS                                          IN THE 200-NM RANGE” that issued Dec. 30, 2008 to
                                                                       David C. Gerstenberger et al.;
    This application claims priority bene?t under 35 U.S.C.          US. Pat. No. 7,391,561 titled “FIBER- OR ROD-BASED
§119(e) to US. Provisional Patent Application No. 61/263,              OPTICAL SOURCE FEATURING A LARGE-CORE,
736 ?led on Nov. 23, 2009 by Matthias P. Savage-Leuchs et              RARE-EARTH-DOPED               PHOTONIC-CRYSTAL
al., titled “Q-SWITCHED OSCILLATOR SEED-SOURCE                         DEVICE FOR GENERATION OF HIGH-POWER
FOR MOPA LASER ILLUMINATOR METHOD AND                                  PULSED RADIATION AND METHOD” that issued
APPARATUS”, Which is incorporated herein by reference in               Jun. 24, 2008 to Fabio Di Teodoro et al.;
its entirety.                                                        US. Pat. No. 7,430,352 titled “MULTI-SEGMENT PHO
  This invention is related to:                                        TONIC-CRYSTAL-ROD             WAVEGUIDES     FOR
  US. Provisional Patent Application 61/343,947 ?led Apr.              AMPLIFICATION OF HIGH-POWER PULSED
    12, 2010 by Matthias P. Savage-Leuchs titled “HIGH                 OPTICAL        RADIATION AND ASSOCIATED
    POWER LASER SYSTEM HAVING DELIVERY                                 METHOD” that issued Sep. 30, 2008 to Fabio Di
    FIBER WITH NON-CIRCULAR CROSS SECTION                     20       Teodoro et al.;
    FOR ISOLATION AGAINST BACK REFLEC                                US. Pat. No. 7,379,648 titled “OPTICAL HOLLOW
    TIONS”;                                                            CORE DELIVERY FIBER AND HOLLOW-ENDCAP
  US. Provisional Patent Application 61/343,948 ?led Apr.              TERMINATION AND ASSOCIATED METHOD” that
    12, 2010 by Matthias P. Savage-Leuchs titled “HIGH                 issued May 27, 2008 to Christopher D. Brooks et al.;
    BEAM QUALITY AND HIGH AVERAGE POWER                       25     US. Pat. No. 7,386,21 1 titled “METHOD ANDAPPARA
    FROM    LARGE-CORE-SIZE   OPTICAL-FIBER                            TUS FOR SPECTRAL-BEAM COMBINING OF
    AMPLIFIERS; SIGNAL AND PUMP MODE-FIELD                             MEGAWATT-PEAK-POWER BEAMS FROM PHO
    ADAPTOR FOR DOUBLE-CLAD FIBERS AND                                 TONIC-CRYSTAL RODS” that issued Jun. 10, 2008 to
    ASSOCIATED METHOD”;                                                Fabio Di Teodoro et al.;
  US. patent application Ser. No. 12/854,868 ?led Aug. 11,    30     US. Pat. No. 7,400,804 titled “MONOLITHIC OR RIB
    2010 by Tolga YilmaZ et al. titled “IN-LINE FOR                    BON-LIKE MULTI-CORE PHOTONIC-CRYSTAL
    WARD/BACKWARD FIBER-OPTIC SIGNAL ANA                               FIBERS AND ASSOCIATED METHOD” Which issued
    LYZER” (Which issued as US. Pat. No. 8,775,649 on                  Jul. 15, 2008 to Fabio Di Teodoro et al.;
    Jun. 17, 2014);                                                  US. Pat. No. 7,429,734 titled “SYSTEMAND METHOD
  US. Provisional Patent Application 61/343,949 ?led Apr.     35       FOR AIRCRAFT INFRARED COUNTERMEA
     12, 2010 byYongdan Hu titled “METHOD AND APPA                     SURES TO MISSILES” that issued Sep. 30, 2008 to
    RATUS FOR IN-LINE FIBER-CLADDING-LIGHT                              Steven C. Tidwell;
    DISSIPATION”;                                                    US. Pat. No. 7,199,924 titled “APPARATUS AND
  US. patent application Ser. No. 12/793,508 ?led Jun. 3,              METHOD FOR SPECTRAL-BEAM COMBINING
    2010 by Yongdan Hu titled “METHOD AND APPARA              40       OF HIGH-POWER FIBER LASERS,” Which issued on
    TUS FOR IN-LINE FIBER-CLADDING-LIGHT DIS                           Apr. 3, 2007 to AndreW J. W. Brown et al.;
    SIPATION” (Which issued as US. Pat. No. 8,355,608 on             US. patent application Ser. No. 11/565,619 titled
    Jan. 15, 2013);                                                    “METHOD AND APPARATUS FOR OPTICAL GAIN
  US. patent application Ser. No. 12/861,773 ?led Aug. 23,             FIBER HAVING SEGMENTS OF DIFFERING CORE
    2010 by Yongdan Hu et al. titled “OPTICAL-FIBER           45        SIZES” ?led on Nov. 30, 2006 by Matthias P. Savage
    ARRAY METHOD AND APPARATUS” (Which issued                          Leuchs (Which issued as US. Pat. No. 7,768,700 on
    as US. Pat. No. 8,503,840 on Aug. 6,2013);                         Aug. 3,2010);
  US. Pat. No. 6,456,756 issued Sep. 24, 2002 to Roy Mead            US. patent application Ser. No. 12/018,193 titled “HIGH
    et al., titled “FIBER RAMAN AMPLIFIER PUMPED                       ENERGY EYE-SAFE PULSED FIBER AMPLIFIERS
    BY AN INCOHERENTLY BEAM COMBINED                          50       AND SOURCES OPERATING IN ERBIUM’S
    DIODE LASER,”;                                                     L-BAND” ?led Jan. 22, 2008 by John D. Minelly et al.
  US. Pat. No. 7,792,166 titled “APPARATUS AND                          (Which issued as US. Pat. No. 7,872,794 on Jan. 18,
    METHOD FOR DRIVING LASER DIODES” issued                            2011); and
    Sep. 7, 2010 to Lawrence A. Borschowa;                           US. patent application Ser. No. 12/624,327 titled “SPEC
  US. Pat. No. 7,620,077 titled “APPARATUS AND                55       TRALLY BEAM COMBINED LASER SYSTEM
    METHOD FOR PUMPING AND OPERATING OPTI                              AND METHOD AT EYE-SAFER WAVELENGTHS”
    CAL PARAMETRIC OSCILLATORS USING DFB                               ?led on Nov. 23, 2009 by Roy D. Mead (Which issued as
    FIBER LASERS” issued Nov. 17, 2009 to Angus J.                     US. Pat. No. 8,441,718 on May 14, 2013); Which are all
    Henderson;                                                         incorporated herein in their entirety by reference.
  US. Pat. No. 7,539,231 titled “APPARATUS AND                60
    METHOD FOR GENERATING CONTROLLED-LIN                                         FIELD OF THE INVENTION
    EWIDTH LASER-SEED-SIGNALS FOR HIGH
    POWERED FIBER-LASER AMPLIFIER SYSTEMS”                           The invention relates generally to optical waveguides and
    issued May 26, 2009 to Eric C. Honea et al.;                   more particularly to Q-sWitched-laser and Q-sWitched-like
  US. patent application Ser. No. 11/623,058 titled “APPA     65   seed sources for high-power and high-energy pulsed master
RATUS AND METHOD FOR GENERATING CHIRP                              oscillator power-ampli?er (MOPA) illuminators, Wherein the
SLICE CONTROLLED-LINEWIDTH LASER-SEED SIG                          pulsed-seed sources have a controlled Wide dynamic range in
      Case
      Case 3:17-cv-00939-WHA
           3:17-cv-00939-WHA Document
                             Document 589-38
                                      310-10 Filed
                                             Filed 06/12/17
                                                   04/28/17 Page
                                                            Page 19
                                                                 19 of
                                                                    of 42
                                                                       42


                                                      US 8,934,509 B2
                               3                                                                        4
order to prevent excessive pulse steepening in high-gain opti            Feb. 2, 1982 to Yano et al. (incorporated herein by reference)
cal-?ber and optical-rod ampli?ers.                                      describes a manufacturing method for a patterned (striped)
                                                                         multi-layer article.
          BACKGROUND OF THE INVENTION                                      US. Pat. No. 6,822,796 to Takada et al. titled “DIFFRAC
                                                                         TIVE OPTICAL ELEMENT” (incorporated herein by refer
  The current state-of-the-art ?ber lasers and ?ber ampli?ers            ence) describes a method for making blazed gratings having
have di?iculty in amplifying laser pulses to very large power            asymmetric grooves with dielectric coatings. US. Pat. No.
levels such that the output pulse lasts for about one microsec           6,958,859 to Hoose et al. entitled “Grating device with high
ond or longer, and outputs several millij oules of energy while          diffraction e?iciency” (incorporated herein by reference)
also avoiding undesired non-linear effects such as stimulated
                                                                         describes a method for making blazed gratings having dielec
Brillouin scattering (SBS). SBS is exacerbated by long pulse             tric coatings.
duration (pulses longer than about 5 nanoseconds (nsec)) and
                                                                           US. Pat. No. 5,907,436 titled “MULTILAYER DIELEC
by very narrow linewidths (laser signals having a relatively
broad linewidth are less likely to cause SBS degradation).               TRIC DIFFRACTION GRATINGS” issued May 25, 1999 to
  Optical gain ?bers doped with rare-earth dopants (such as              Perry et al., and is incorporated herein by reference. This
erbium-doped ?ber ampli?ers (EDFAs)) enable laser designs                patent describes the design and fabrication of dielectric grat
where the optical gain ?ber is optically pumped over an                  ing structures with high diffraction e?iciency. The gratings
extended period of time (e.g., 100’s or 1000’s of microsec               have a multilayer structure of alternating index dielectric
onds) in order to accumulate a relatively large amount of                materials, with a grating structure on top of the multilayer,
energy, and an optical seed pulse (a lower-power laser pulse        20   and obtain a diffraction grating of adjustable e?iciency, and
from a laser source) is then launched into the waveguide core            variable optical bandwidth.
of the optical gain ?ber to extract the accumulated energy by              US. Pat. No. 6,212,310 titled “HIGH POWER FIBER
stimulated-emission ampli?cation. Unfortunately, this typi               GAIN MEDIA SYSTEM ACHIEVED THROUGH POWER
cally results in pulse steepening, since the leading edge of the         SCALING VIA MULTIPLEXING” issued 3 Apr. 2001 to
seed pulse encounters the highest gain, while later temporal        25   Waarts et al., and is incorporated herein by reference. This
portions of the pulse will undergo lower amounts of ampli?               patent describes certain methods of power scaling by multi
cation.                                                                  plexing multiple ?ber gain sources with different wave
   One approach to solving the pulse-steepening problem is to            lengths, pulsing or polarization modes of operation is
shape the seed pulse by amplitude modulation (providing a                achieved through multiplex combining of the multiple ?ber
low-amplitude leading edge for the seed pulse followed by a         30   gain sources to provide high power outputs, such as ranging
rising amplitude later in the pulse), but it is quite dif?cult to        from tens of watts to hundreds of watts, provided on a single
provide suf?cient dynamic range and ?ne control to obtain                mode or multimode ?ber.
satisfactory energy extraction, pulse shape, and avoidance of              US. Pat. No. 7,532,656 issued to Yang, et al. on May 12,
non-linear effects. Even when a ?ber ampli?er or ?ber laser is           2009 titled “ALL-SILICON RAMAN AMPLIFIERS AND
designed to compensate for the above effects, there will be a       35   LASERS BASED ON MICRO RING RESONATORS” and
limit on the maximum power that can be obtained from a                   is incorporated herein by reference. This patent describes
single ?ber when scaling to larger ?ber sizes and/or lengths,            devices for generating a laser beam. The devices include a
pump powers, and the like.                                               silicon optical micro-ring having at least one silicon optical
  Various inventions use spectral-beam combining US. Pat.                waveguide disposed at a distance from the micro-ring. The
No. 6,192,062 to Sanchez-Rubio et al. entitled “Beam com            40   radius and the cross-sectional dimension of the micro-ring,
bining of diode laser array elements for high brightness and             the cross-sectional dimension of the waveguide, and the dis
power” and US. Pat. No. 6,208,679 to Sanchez-Rubio et al.                tance between the micro-ring and the waveguide are deter
entitled “High-power multi-wavelength external cavity laser”             mined such that one or more pairs of whispering-gallery
describe the fundamental techniques of spectral beam com                 mode resonant frequencies of the micro -ring are separated by
bining, and both are incorporated herein by reference.              45   an optical-phonon frequency of silicon.
   In some embodiments, the gratings used for spectral-beam                US. Pat. No. 6,330,388 issuedto Bendett, et al. on Dec. 11,
combining are “blazed,” i.e., formed with V-grooves having               2001 titled “METHOD AND APPARATUS FOR
sidewall angles that are asymmetrical with respect to a vector           WAVEGUIDE OPTICS AND DEVICES,” and US. Pat. No.
normal to the overall surface of the grating. US. Pat. No.               6,636,678 issuedto Bendett, et al. on Oct. 21, 2003, also titled
3,728,117 to Heidenhain et al. entitled “Optical Diffraction        50   “METHOD AND APPARATUS FOR WAVEGUIDE
Grid” (incorporated herein by reference) describes a method              OPTICS AND DEVICES,” and both are incorporated herein
for making blazed gratings having asymmetric grooves. US.                by reference. These patents describe optical structures and
Pat. No. 4,895,790 to Swanson et al. entitled “High-e?i                  methods for producing tunable-waveguide lasers. In one
ciency, multilevel, diffractive optical elements” (incorpo               embodiment, a waveguide is de?ned within a glass substrate
rated herein by reference) describes a method for making            55   doped with a rare-earth element or elements by ion diffusion.
blazed gratings having asymmetric grooves using binary pho               Feedback elements such as mirrors or re?ection gratings in
tolithography to create stepped pro?les. US. Pat. No. 6,097,             the waveguide further de?ne a laser-resonator cavity so that
863, titled “Diffraction Grating with Reduced Polarization               laser light is output from the waveguide when pumped opti
Sensitivity” issuedAug. 1, 2000 to Chowdhury (incorporated               cally or otherwise. Means are disclosed for varying the wave
herein by reference) describes a re?ective diffraction grating      60   lengths re?ected by the re?ection gratings and varying the
with reduced polarization sensitivity for dispersing the sig             effective length of the resonator cavity to thereby tune the
nals. The Chowdhury grating includes facets that are oriented            laser to a selected wavelength. These patents also describe
for reducing e?iciency variations within a transmission band             apparatus and method for integrating rare-earth-doped lasers
width and that are shaped for reducing differences between               and optics on glass substrates.
the diffraction ef?ciencies in two orthogonal directions of         65     US. Pat. No. 6,970,494 issued to Bendett, et al. onNov. 29,
differentiation. US. Pat. No. 4,313,648 entitled “Patterned              2005 titled “Rare-earth doped phosphate-glass lasers and
Multi-Layer Structure and Manufacturing Method” issued                   associated methods” and is incorporated herein by reference.
      Case
      Case 3:17-cv-00939-WHA
           3:17-cv-00939-WHA Document
                             Document 589-38
                                      310-10 Filed
                                             Filed 06/12/17
                                                   04/28/17 Page
                                                            Page 20
                                                                 20 of
                                                                    of 42
                                                                       42


                                                       US 8,934,509 B2
                               5                                                                        6
This patent describes integrating lasers and optics on glass             where it is absorbed. The device selectively attenuates the
substrates. An optical (e.g., laser) component formed from a             optical signal and noise, and can be used to reduce pulse
glass substrate doped with an optically active lanthanides               waveform distortion caused by pulse broadening and by
species with a plurality of waveguides de?ned by channels                ampli?cation of system noise.
within the substrate. The laser component optionally includes               US. Pat. No. 6,396,975 to Wood et al. issued May 28, 2002
a monolithic array of individual waveguides in which the                 titled “MEMS optical cross-connect switch” and is incorpo
waveguides form laser resonator cavities with differing reso             rated herein by reference. U.S. Pat. No. 6,396,975 describes a
nance characteristics.                                                   MEMS (microelectromechanical) structure capable of
  US. Pat. No. 6,813,405 issued to Bendett, et al. on Nov. 2,            switching optical signals from an input ?ber to one of two or
2004 titled “Compact apparatus and method for integrated                 more output ?bers. In one embodiment, the MEMS optical
photonic devices having folded directional couplers” and is              cross-connect switch comprises a ?rst microelectronic sub
incorporated herein by reference. This patent describes an               strate having a pop-up mirror disposed on the surface of the
integrated photonic apparatus that includes a glass substrate            substrate and a rotational magnetic ?eld source, such as a
having a major surface, a ?rst waveguide segment and a                   variably controlled magnetic ?eld source. The rotational
second waveguide segment, and a folded evanescent coupler                magnetic ?eld source allows for reliable actuation of the
connecting the ?rst waveguide segment to the second. The                 pop-up mirror from a non-re?ective state to a re?ective state.
folded evanescent coupler is formed by a ?rst length of the              Additionally the invention is embodied in a MEMS optical
?rst waveguide segment and an equivalent length portion of               cross-connect switch having a ?rst microelectronic substrate
the second waveguide running parallel and adjacent to the                having a pop-up mirror disposed on the surface of the sub
?rst waveguide segment. The ?rst length is substantially            20   strate and a positioning structure disposed in a ?xed posi
equal to one half of an evanescent-coupler length needed to              tional relationship relative to the ?rst substrate. The position
transfer a ?rst wavelength in a non-folded evanescent coupler.           ing structure may comprise a positioning structure extending
A re?ector (e. g., dielectric mirror that is highly re?ective to         from a second microelectronic substrate that is in a ?xed
light of the ?rst wavelength and also highly transmissive to             positional relationship relative to the ?rst microelectronic
light of a second wavelength) is located at an end of the folded    25   substrate. The positioning structure serves to restrict further
evanescent coupler.                                                      movement of the pop-up mirror when the pop-up mirror has
   US. Pat. No. 6,493,476 issued to Bendett on Dec. 10,2002              been actuated into a re?ective state.
titled “APPARATUS AND METHOD FOR INTEGRATED                                US. Pat. No. 4,778,237 to Sorin, et al. Oct. 18, 1988
PHOTONIC DEVICES HAVING GAIN AND WAVE                                    “Single-mode ?ber optic saturable absorber”, is incorporated
LENGTH-SELECTIVITY” and is incorporated herein by                   30   herein by reference. US. Pat. No. 4,778,237 describes ?ber
reference. This patent describes an integrated photonic appa             optic saturable absorber for processing optical signals com
ratus that includes a glass substrate having a major surface,            prises an optical ?ber from which a portion of the cladding is
wherein the glass substrate includes a plurality of regions,             removed to form a facing surface. A light-absorbing sub
each region having a different index of refraction, including a          stance having non-linear light-absorbing characteristics is
?rst region having a ?rst index of refraction and a second          35   applied to the facing surface such that a portion of the optical
region having a second index of refraction lower than the ?rst           signal energy is transferred from the ?ber to the substance
index of refraction, and a ?rst waveguide formed along the               where it is absorbed. The device selectively attenuates the
major surface of the substrate, wherein the ?rst waveguide               optical signal and noise, and can be used to reduce pulse
has a higher index of refraction than an intrinsic index of              waveform distortion caused by pulse broadening and by
refraction of adjacent portions of the substrate, and wherein       40   ampli?cation of system noise.
the ?rst waveguide passes through the ?rst region and through              US. Pat. No. 7,203,209 toYoung, et al. Apr. 10, 2007 titled
the second region of the glass substrate.                                “System and method for a passively Q-switched, resonantly
  US. Pat. No. 7,403,677, to Zhao, et al., which issued Jul.             pumped, erbium-doped crystalline laser”, is incorporated
22, 2008 titled “Fiberoptic recon?gurable devices with beam              herein by reference. US. Pat. No. 7,203,209 describes a laser
shaping for low-voltage operation,” is incorporated herein by       45   that includes a resonant cavity formed between a ?rst mirror
reference. US. Pat. No. 7,403,677 describes an apparatus and             and a second mirror. An unsensitized erbium-doped crystal
method to operate on a light beam by using a lens that colli             gain medium for producing laser gain is disposed within the
mates the light beam to a collimated beam with at least one              resonant cavity. A saturable absorber is disposed within the
cross-sectional dimension less than a critical dimension of              resonant cavity. A pump source is positioned to energize the
400 microns or less over a working range WR. The apparatus          50   gain medium. The saturable absorber, the laser gain, the reso
has a bulk electro-optic material of small thickness, e. g., less        nator length, and the second mirror being selected so that
than 300 microns positioned within a working range and the               output pulses having a duration of less than 75 nanoseconds
collimated beam traverses it along its path. The apparatus has           are generated by the laser.
a voltage source for applying a low operating or drive voltage,            The present invention can be used with or combined with
e.g. less than 400 V, to the bulk electro-optic material for        55   any of the prior-art patents described herein to obtain novel
performing an operation on the collimated beam. The lens for             and non-obvious combinations, including spectral-beam
collimating the light beam is a free-space collimator such as            combined laser beams from ?ber lasers for directed energy
a graded index (GRIN) lens or preferably a C-lens. US. Pat.              (DE) weapons, for example as being proposed for the US.
No. 4,778,237 to Sorin, et al. issued Oct. 18, 1988 titled               robust electric-powered laser initiative (RELI). In some
“Single-mode ?ber optic saturable absorber” is incorporated         60   embodiments, the present invention produces a high-power
herein by reference. US. Pat. No. 4,778,237 describes ?ber               laser that pumps Raman-?ber ampli?ers or lasers for DE at
optic saturable absorber for processing optical signals com              eye-safer wavelengths.
prises an optical ?ber from which a portion of the cladding is             There is a need for improved laser systems, particularly
removed to form a facing surface. A light-absorbing sub                  Q-switched ?ber lasers and/or ?ber optical ampli?ers for use
stance having non-linear light-absorbing characteristics is         65   in MOPA designs. While other ?ber-laser alternatives are
applied to the facing surface such that a portion of the optical         available, the present invention provides improved perfor
signal energy is transferred from the ?ber to the substance              mance (higher output power) and/or lower cost.
      Case
      Case 3:17-cv-00939-WHA
           3:17-cv-00939-WHA Document
                             Document 589-38
                                      310-10 Filed
                                             Filed 06/12/17
                                                   04/28/17 Page
                                                            Page 21
                                                                 21 of
                                                                    of 42
                                                                       42


                                                       US 8,934,509 B2
                               7                                                                       8
            SUMMARY OF THE INVENTION                                     and amplitude control of the seed signal prevents or compen
                                                                         sates for pulse steepening that otherwise would occur using
   In some embodiments, the present invention provides an                the same one or more external optical power ampli?ers and a
apparatus, method and system that uses a Q-switched laser as             conventional seed pulse in a master-oscillator power-ampli
a seed source having a controlled high-dynamic-range ampli          5    ?er (MOPA) con?guration.
tude that avoids and/or compensates for pulse steepening in                In some embodiments, the present invention provides a
high-gain optical-?ber ampli?cation of long-duration laser               “Q-switched seed signal” from a Q-switched laser, such as
pulses. In some embodiments, the output is used for illumi               shown in FIG. 1A,FIG.1B1,FIG. 1B2, FIG. 1B3, FIG. 1C1,
nation purposes (e.g., illuminating a scene for image acqui              FIG. 1C2, FIG. 1D1, FIG. 1D2, FIG. 1E1, FIG. 1E2, FIG.
sition). In some embodiments, well-controlled pulse shapes               1E3, FIG. 1F1, FIG. 1F2, FIG. 1F3, FIG. 1G1, FIG. 1G2 and
are obtained having a wide dynamic range, long duration, and
                                                                         FIG. 1G3 described below. In other embodiments, the present
not-too-narrow linewidth. In some embodiments, upon the
                                                                         invention provides “quasi-Q-switch seed signal” from a
opening of a Q-switch in an optical cavity having a gain
medium, the ampli?cation builds relatively slowly, wherein               quasi-Q-switched laser that uses a pulse-pumped small-core
each round trip through the gain medium increases the ampli              gain ?ber in place of a Q-switch, in a con?guration that uses
tude of the optical pulse. This con?guration results in an               a large-core gain ?ber to accumulate lasing energy for the
optical pulse having a very wide dynamic (i.e., very low                 seed pulse, such as shown in FIG. 2A and FIG. 2B described
amplitude after one round trip and a relatively slow and con             below. In yet other embodiments, the present invention pro
trolled increase in amplitude over time as the light passes              vides “Q-like seed signal” from a conventional laser or a
again and again through the gain medium).                           20   controlled-linewidth ampli?ed-spontaneous-emission (ASE)
  As used herein, a Q-switch is an optical element residing              device that has its output modulated using a plurality of
within a laser cavity that is considered “closed” or “off” when          optical-amplitude modulators to form a high-dynamic-range
it propagates insu?icient signal to allow lasing (i.e., a sub            pulse having a very slowly rising leading edge whose slope
threshold amount of light of the lasing-signal wavelength,               increases later in time to form a seed pulse that has a leading
typically allowing minimal or no signal to circulate) in the        25   edge much like a Q-switched seed signal, using apparatus
laser cavity, and is considered “open” or “on” when it propa             such as shown in FIG. 5A, FIG. 5B and FIG. 5E described
gates suf?cient signal to allow lasing (i.e., an above-threshold         below.
amount of light of the lasing-signal wavelength, typically                 As used herein, a “Q-seed signal” is a generic term for a
allowing maximal or all signal to circulate) in the laser cavity.        signal having a Gaussian or Gaussian-like temporal intensity
Typically, the Q-switch is con?gured as a variably transmis         30   shape that includes Q-switched seed signals, quasi
sive element, wherein the Q-switch transmits signal light                Q-switched seed signals, and Q-like seed signals. As used
when the Q-switch is “on” and does not transmit signal light             herein, a “Q-seed source” is a generic term for a pulsed light
when the Q-switch is “off”. In other embodiments, the                    source that generates Q-seed signals. As used herein, “light”
Q-switch is con?gured as a variable-transparency semicon                 signals and “optical” signals each include electromagnetic
ductor element, wherein a Q-switch driver circuit supplies          35   radiation (EMR) of any wavelength between about 100 nm
suf?cient electrical power to make the semiconductor trans               and about 400 nm (generally referred to as ultraviolet light),
parent to allow lasing when the Q-switch is “on” and does not            between about 400 nm and about 700 nm (visible light from
supply suf?cient electrical power for transparency to allow              violet to red, although the exact wavelengths that de?ne the
lasing when the Q-switch is “off”, and in some such embodi               edges of this visibility-spectrum range, i.e., the wavelengths
ments, this same semiconductor element also provides addi           40   that can be perceived by human, may vary based on the
tional optical gain when su?icient electrical power is applied.          individual and the intensity of the light) or between about 700
In still other embodiments, the Q-switch is con?gured as a               nm and about 10,000 nm (generally referred to as infrared
variable-re?ectance element, wherein the Q-switch re?ects                light). In addition, in some embodiments, the present inven
suf?cient signal to cause lasing in the laser cavity when the            tion contemplates using EMR signals having wavelengths
Q-switch is “on” and does not re?ect suf?cient signal to allow      45   shorter than 100 nm or longer than 10,000 nm.
lasing when the Q-switch is “off”.                                          In some embodiments, the present invention provides a
   In some embodiments, the Q-switch itself is gradually                 MOPA device that uses Q-seed signals from a Q-seed source
opened (rather than going from fully closed to fully open)               that are ampli?ed by a ?ber- or rod-based power ampli?er or
under electronic control to provide additional ?ne-grain con             power ampli?er chain (a series of ?ber- or rod-based gain
trol over the rate of amplitude increase. In some embodi            50   media) that amplify the Q-seed signal to very high powers
ments, an acousto-optic modulator (AOM) is used as the                   substantially without pulse steepening.
Q-switch, and is electrically controlled to turn on more slowly            In some embodiments, the novel seed sources of the
(e. g., in some embodiments, it is driven by a controlled-slope          present invention are very compact, rugged and cost effective.
ramped pulse) than it would open if fully driven (e.g., if driven        In some embodiments, the novel seed sources have potential
by a square pulse).                                                 55   to generate pulses as short as 5 nsec or less. In some embodi
  In some embodiments, the present invention provides a                  ments, the Q-switched seed source uses a solid-state ampli?er
rare-earth-doped (RE-doped) optical gain ?ber in a                       as its Q-switch. In some embodiments, the Q-switched seed
Q-switched ring-seed-laser con?guration that includes an                 signal incurs no pulse steepening in ?ber-ampli?er stages,
optical isolator to help force unidirectional light travel around        including power-ampli?er stages. In some embodiments, the
the ring, an optical bandpass ?lter to help narrow and control      60   Q-switched seed signal incurs no stimulated Brillouin scat
the linewidth of the seed signal, a polarizer and/or polariza            tering (SBS) or modulation instabilities. In some embodi
tion-maintaining ?ber to polarize the seed signal, a Q-switch            ments, the present invention uses a co-propagating pumping
driver operatively coupled to a Q-switch to control the tem              scheme with minimum spectral broadening. In some embodi
poral pulse shape, and an output coupler that couples a por              ments, the linewidth is tailored to minimize speckles. In some
tion of the seed signal as feedback to the laser ring and           65   embodiments, the linewidth is tailored to match wavelength
couples another portion of the seed signal out to one or more            ?lters used in the detection subsystem of the illuminator
external optical power ampli?ers. The high dynamic range                 detector system.
Case
Case 3:17-cv-00939-WHA
     3:17-cv-00939-WHA Document
                       Document 589-38
                                310-10 Filed
                                       Filed 06/12/17
                                             04/28/17 Page
                                                      Page 22
                                                           22 of
                                                              of 42
                                                                 42
Case
Case 3:17-cv-00939-WHA
     3:17-cv-00939-WHA Document
                       Document 589-38
                                310-10 Filed
                                       Filed 06/12/17
                                             04/28/17 Page
                                                      Page 23
                                                           23 of
                                                              of 42
                                                                 42
Case
Case 3:17-cv-00939-WHA
     3:17-cv-00939-WHA Document
                       Document 589-38
                                310-10 Filed
                                       Filed 06/12/17
                                             04/28/17 Page
                                                      Page 24
                                                           24 of
                                                              of 42
                                                                 42
Case
Case 3:17-cv-00939-WHA
     3:17-cv-00939-WHA Document
                       Document 589-38
                                310-10 Filed
                                       Filed 06/12/17
                                             04/28/17 Page
                                                      Page 25
                                                           25 of
                                                              of 42
                                                                 42
Case
Case 3:17-cv-00939-WHA
     3:17-cv-00939-WHA Document
                       Document 589-38
                                310-10 Filed
                                       Filed 06/12/17
                                             04/28/17 Page
                                                      Page 26
                                                           26 of
                                                              of 42
                                                                 42
Case
Case 3:17-cv-00939-WHA
     3:17-cv-00939-WHA Document
                       Document 589-38
                                310-10 Filed
                                       Filed 06/12/17
                                             04/28/17 Page
                                                      Page 27
                                                           27 of
                                                              of 42
                                                                 42
Case
Case 3:17-cv-00939-WHA
     3:17-cv-00939-WHA Document
                       Document 589-38
                                310-10 Filed
                                       Filed 06/12/17
                                             04/28/17 Page
                                                      Page 28
                                                           28 of
                                                              of 42
                                                                 42
Case
Case 3:17-cv-00939-WHA
     3:17-cv-00939-WHA Document
                       Document 589-38
                                310-10 Filed
                                       Filed 06/12/17
                                             04/28/17 Page
                                                      Page 29
                                                           29 of
                                                              of 42
                                                                 42
Case
Case 3:17-cv-00939-WHA
     3:17-cv-00939-WHA Document
                       Document 589-38
                                310-10 Filed
                                       Filed 06/12/17
                                             04/28/17 Page
                                                      Page 30
                                                           30 of
                                                              of 42
                                                                 42
Case
Case 3:17-cv-00939-WHA
     3:17-cv-00939-WHA Document
                       Document 589-38
                                310-10 Filed
                                       Filed 06/12/17
                                             04/28/17 Page
                                                      Page 31
                                                           31 of
                                                              of 42
                                                                 42
Case
Case 3:17-cv-00939-WHA
     3:17-cv-00939-WHA Document
                       Document 589-38
                                310-10 Filed
                                       Filed 06/12/17
                                             04/28/17 Page
                                                      Page 32
                                                           32 of
                                                              of 42
                                                                 42
Case
Case 3:17-cv-00939-WHA
     3:17-cv-00939-WHA Document
                       Document 589-38
                                310-10 Filed
                                       Filed 06/12/17
                                             04/28/17 Page
                                                      Page 33
                                                           33 of
                                                              of 42
                                                                 42
Case
Case 3:17-cv-00939-WHA
     3:17-cv-00939-WHA Document
                       Document 589-38
                                310-10 Filed
                                       Filed 06/12/17
                                             04/28/17 Page
                                                      Page 34
                                                           34 of
                                                              of 42
                                                                 42
Case
Case 3:17-cv-00939-WHA
     3:17-cv-00939-WHA Document
                       Document 589-38
                                310-10 Filed
                                       Filed 06/12/17
                                             04/28/17 Page
                                                      Page 35
                                                           35 of
                                                              of 42
                                                                 42
Case
Case 3:17-cv-00939-WHA
     3:17-cv-00939-WHA Document
                       Document 589-38
                                310-10 Filed
                                       Filed 06/12/17
                                             04/28/17 Page
                                                      Page 36
                                                           36 of
                                                              of 42
                                                                 42
Case
Case 3:17-cv-00939-WHA
     3:17-cv-00939-WHA Document
                       Document 589-38
                                310-10 Filed
                                       Filed 06/12/17
                                             04/28/17 Page
                                                      Page 37
                                                           37 of
                                                              of 42
                                                                 42
Case
Case 3:17-cv-00939-WHA
     3:17-cv-00939-WHA Document
                       Document 589-38
                                310-10 Filed
                                       Filed 06/12/17
                                             04/28/17 Page
                                                      Page 38
                                                           38 of
                                                              of 42
                                                                 42
Case
Case 3:17-cv-00939-WHA
     3:17-cv-00939-WHA Document
                       Document 589-38
                                310-10 Filed
                                       Filed 06/12/17
                                             04/28/17 Page
                                                      Page 39
                                                           39 of
                                                              of 42
                                                                 42
Case
Case 3:17-cv-00939-WHA
     3:17-cv-00939-WHA Document
                       Document 589-38
                                310-10 Filed
                                       Filed 06/12/17
                                             04/28/17 Page
                                                      Page 40
                                                           40 of
                                                              of 42
                                                                 42
Case
Case 3:17-cv-00939-WHA
     3:17-cv-00939-WHA Document
                       Document 589-38
                                310-10 Filed
                                       Filed 06/12/17
                                             04/28/17 Page
                                                      Page 41
                                                           41 of
                                                              of 42
                                                                 42
Case
Case 3:17-cv-00939-WHA
     3:17-cv-00939-WHA Document
                       Document 589-38
                                310-10 Filed
                                       Filed 06/12/17
                                             04/28/17 Page
                                                      Page 42
                                                           42 of
                                                              of 42
                                                                 42
